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                                                                       United States Bankruptcy Court
                                                                           Southern District of Texas

                                                                              ENTERED
                  IN THE UNITED STATES BANKRUPTCY COURT                    February 01, 2023
                    FOR THE SOUTHERN DISTRICT OF TEXAS                     Nathan Ochsner, Clerk
                             HOUSTON DIVISION

                                               )
In re:                                         ) Chapter 11
                                               )
IEH AUTO PARTS HOLDING LLC,                    ) Case No. 23-90054 (CML)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )

In re:                                         )   Chapter 11
                                               )
AP ACQUISITION COMPANY CLARK LLC,              )   Case No. 23-90053
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
AP ACQUISITION COMPANY GORDON LLC,             )   Case No. 23-90060
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
AP ACQUISITION COMPANY                         )   Case No. 23-90062
MASSACHUSETTS LLC,                             )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
AP ACQUISITION COMPANY MISSOURI LLC,           )   Case No. 23-90063
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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                                               )
In re:                                         )   Chapter 11
                                               )
AP ACQUISITION COMPANY NEW YORK LLC            )   Case No. 23-90056
                                               )
                     Debtor.                   )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
AP ACQUISITION COMPANY NORTH                   )   Case No. 23-90064
CAROLINA LLC,                                  )
                                               )
                     Debtor.                   )
                                               )
Tax I.D. No. (N/A)                             )
                                               )
In re:                                         )   Chapter 11
                                               )
AP ACQUISITION COMPANY WASHINGTON              )   Case No. 23-90061
LLC,                                           )
                                               )
                     Debtor.                   )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
AUTO PLUS AUTO SALES LLC,                      )   Case No. 23-90055
                                               )
                     Debtor.                   )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
IEH AIM LLC,                                   )   Case No. 23-90065
                                               )
                     Debtor.                   )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
IEH AUTO PARTS LLC,                            )   Case No. 23-90057

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                                                                     )
                             Debtor.                                 )
                                                                     )
    Tax I.D. No. XX-XXXXXXX                                          )
                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    IEH AUTO PARTS PUERTO RICO, INC.,                                )   Case No. 23-90058
                                                                     )
                             Debtor.                                 )
                                                                     )
    Tax I.D. No. XX-XXXXXXX                                          )
                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    IEH BA LLC,                                                      )   Case No. 23-90059
                                                                     )
                             Debtor.                                 )   (Joint Administration Requested)
                                                                     )
    Tax I.D. No. XX-XXXXXXX                                          )   Re: Docket No. 2

              ORDER (I) DIRECTING JOINT ADMINISTRATION OF THE
         DEBTORS’ CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) directing the joint

administration of the Debtors’ chapter 11 cases for procedural purposes only and (b) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found

that it may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate and no other


1
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

                                                          3
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notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court, if any

(the “Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is ORDERED THAT:

          1.   The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by this Court under Case No. 23-90054 (CML). All of the

jointly administered cases previously assigned to Judge Jones are transferred to Judge Lopez.

          2.   The following checked items are ordered

               a. One disclosure statement and plan of reorganization may be filed for all cases
                  by any plan proponent.

               b. Parties may request joint hearings on matters pending in any of the jointly
                  administered cases.

               c. Other: see below.

          3.   The caption of the jointly administered cases should read as follows:

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                         )
 In re:                                                  ) Chapter 11
                                                         )
 IEH AUTO PARTS HOLDING LLC, et al.,1                    ) Case No. 23-90054 (CML)
                                                         )
                               Debtors.                  ) (Jointly Administered)
                                                         )




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1
    The Debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
    identification number, are: IEH Auto Parts Holding LLC (6529); AP Acquisition Company Clark LLC (4531); AP
    Acquisition Company Gordon LLC (5666); AP Acquisition Company Massachusetts LLC (7581); AP Acquisition
    Company Missouri LLC (7840); AP Acquisition Company New York LLC (7361); AP Acquisition Company North
    Carolina LLC (N/A); AP Acquisition Company Washington LLC (2773); Auto Plus Auto Sales LLC (6921); IEH
    AIM LLC (2233); IEH Auto Parts LLC (2066); IEH Auto Parts Puerto Rico, Inc. (4539); and IEH BA LLC (1428).
    The Debtors’ service address is: 112 Townpark Drive NW, Suite 300, Kennesaw, GA 30144 .

          4.       The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

          5.       A docket entry, substantially similar to the following, shall be entered on the docket

of each of the Debtors other than IEH Auto Parts Holding LLC to reflect the joint administration

of these chapter 11 cases:

                   An order has been entered in accordance with Bankruptcy Rule
                   1015(b) and Local Rule 1015-1 for the United States Bankruptcy
                   Court for the Southern District of Texas directing joint
                   administration for procedural purposes only of the chapter 11 cases
                   of each of the following: IEH Auto Parts Holding LLC 23-90054;
                   AP Acquisition Company Clark LLC 23-90053; AP Acquisition
                   Company Gordon LLC 23-90060; AP Acquisition Company
                   Massachusetts LLC 23-90062; AP Acquisition Company Missouri
                   LLC 23-90063; AP Acquisition Company New York LLC 23-
                   90056; AP Acquisition Company North Carolina LLC 23-90064;
                   AP Acquisition Company Washington LLC 23-90061; Auto Plus
                   Auto Sales LLC 23-90055; IEH AIM LLC 23-90065; IEH Auto
                   Parts LLC 23-90057; IEH Auto Parts Puerto Rico, Inc. 23-90058;
                   and IEH BA LLC 23-90059. All further pleadings and other papers
                   shall be filed in and all further docket entries shall be made in Case
                   No. 23-90054 (CML).

          6.       The Debtors shall maintain, and the Clerk of the Court shall keep, one consolidated

docket, one file, and one consolidated service list for these chapter 11 cases.

          7.       Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases, and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order substantively

consolidating their respective cases.

          8.       A separate claims registry shall be maintained for each Debtor.
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       9.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       10.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       11.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


Dated: ___________, 2023
        August 02,
       February 01, 2019
                    2023                     CHRISTOPHER M. LOPEZ
                                             UNITED STATES BANKRUPTCY JUDGE




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